              Case 1:19-cr-00036-MHC-JSA Document 83 Filed 07/23/20 Page 1 of 6

                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

                                                        )
UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE

V.                                                              Case Number: 1:19-CR-036-1-MHC
                                                                USM Number: 72150019
HASHER JALLAL TAHEB
                                                                Vionnette Johnson
                                                                Defendant's Attorney




THE DEFENDANT:

The defendant pleaded guilty to Count One.

The defendant is adjudicated guilty of this offense.

Title & Section Nature of Offense                                            Offense Ended Count


18U.S.C.§844(f)(l)                   Attempted Destruction of                January 16,2019 One
                                     Government Property by Fire or
                                     Explosive


The defendant is sentenced as provided in this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.


It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed
by this judgment are fully paid.

                                                       July 23,2020
                                                       Date of Imposition of Judgment




                                                       Signature of Judge


                                                       MARK H. COHEN, U. S. DISTRICT JUDGE
                                                       Name and Title of Judge


                                                       July 23,2020
                                                       Date
                 Case 1:19-cr-00036-MHC-JSA Document 83 Filed 07/23/20 Page 2 of 6


DEFENDANT: HASHER JALLAL TAHEB
CASE NUMBER: 1:19-CR-036-1-MHC Judgment - Page 2 of 6



Judgment in a Criminal Case
Sheet 2 - Imprisonment


                                               IMPRISONMENT

         The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for
a total term of: ONE HUNDRED EIGHTY (180) MONTHS.

         The defendant is remanded to the custody of the United States Marshal.




                                                    RETURN

I have executed this judgment as follows:




 Defendant delivered on to


 at _ , with a certified copy of this judgment.

                                                                         UNITED STATES MARSHAL




                                                                      DEPUTY UNITED STATES MARSHAL
                Case 1:19-cr-00036-MHC-JSA Document 83 Filed 07/23/20 Page 3 of 6


DEFENDANT: HASHER JALLAL TAHEB
CASE NUMBER: 1:1 9-CR-03 6-1 -MHC Judgment -- Page 3 of 6



Judgment in a Criminal Case
Sheet 3 - Supervised Release


                                            SUPERVISED RELEASE

         Upon release from imprisonment, you will be on supervised release for a term of: THREE (3)YEARS.


         Within 72 hours of release from the custody of the Bureau of Prisons, you shall report to the probation
office in the district to which you are released, unless the probation officer instructs you to report to a different
probation office or within a different time frame.



                                         MANDATORY CONDITIONS


1. You must not commit another federal, state or local crime.
2. You must not unlawfully possess a controlled substance.
3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within
    15 days of release from imprisonment and at least two periodic drug tests thereafter, as determined by the
    court.
4. You must cooperate in the collection of DNA as directed by the probation officer.
5. You shall own, possess, or have under your control any firearm, dangerous weapon, or other destructive
    device.


You must comply with the standard conditions that have been adopted by this court as well as with any other
conditions on the attached pages.
                 Case 1:19-cr-00036-MHC-JSA Document 83 Filed 07/23/20 Page 4 of 6


DEFENDANT: HASHER JALLAL TAHEB
CASE NUMBER: 1:19-CR-036-1-MHC Judgment - Page 4 of 6


                                     STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

   1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
       release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
        time frame.
   2. After initially reporting to the probation office, you will receive instmctions from the court or the probation officer about how
        and when you must report to the probation officer, and you must report to the probation officer as instructed.
   3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
        from the court or the probation officer.
   4. You must answer truthfully the questions asked by your probation officer.
   5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
        arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
        notifying the probation officer m advance is not possible due to unanticipated circumstances, you must notify the probation
        officer within 72 hours of becoming aware of a change or expected change.
   6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
        officer to take any items prohibited by the conditions of your supervision that he or she observes ia plain view.
   7. You must work fall time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
        from doing so. If you do not have full-time employment you must tiy to fmd full-time employment, unless the probation officer
        excuses you from doing so. If you plan to change where you work or anything about your work (such as your position or your
       job responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer
        at least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
        hours of becoming aware of a change or expected change.
   8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
         convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of
         the probation officer.
   9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
   10. You must not own, possess, or have access to a fu-eann, ammunition, destructive device, or dangerous weapon (i.e., anything
        that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as
        nunchakus or tasers).
   11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
        without first getting the permission of the court.
   12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
        require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact
        the person and confirm that you have notified the person about the risk.
   13. You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has iastructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further mformation regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov

I understand that a violation of any of these conditions of supervised release may result in modification, extension, or revocation of my
term of supervision.



 Defendant's Signature Date

 USPO's Signature Date
              Case 1:19-cr-00036-MHC-JSA Document 83 Filed 07/23/20 Page 5 of 6


DEFENDANT: HASHER JALLAL TAHEB
CASE NUMBER: 1:19-CR-036-1-MHC Judgment--Page 5 of 6




                                SPECIAL CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following special conditions of supervision.


You must submit your person, property, house, residence, vehicle, papers, computers (as defined in 18 U.S.C. §
1030(e)(l)), other electronic communications or data storage devices or media, or office, to a search conducted
by a United States Probation Officer. Failure to submit to a search may be grounds for revocation of release.
You must warn any other occupants that the premises may be subject to searches pursuant to this condition. An
officer may conduct a search pursuant to this condition only when reasonable suspicion exists that you violated a
condition of your supervision and that areas to be searched contain evidence of this violation.


You must permit confiscation and/or disposal of any material considered to be contraband or any other item which
may be deemed to have evidentiary value of violations of supervision.


You must participate in a mental health assessment, and if necessary, a mental health treatment program and
follow the rules and regulations of that program. Such program may require that you submit to an evaluation and/
or testing. The probation officer, in consultation with the treatment provider, will supervise your participation in
the program (provider, location, modality, duration, intensity, etc.). You shall pay all or part of the costs of the
program based on your ability to pay unless excused by the probation officer.


You must participate in a cognitive behavioral treatment program and follow the rules and regulations of that
program. The probation officer will supervise your participation in the program (provider, location, modality,
duration, intensity, etc.). Such programs may include group sessions led by a counselor or participation in a
program administered by the probation office. You shall pay all or part of the costs of the program based on your
ability to pay unless excused by the probation officer.
                  Case 1:19-cr-00036-MHC-JSA Document 83 Filed 07/23/20 Page 6 of 6


DEFENDANT: HASHER JALLAL TAHEB
CASE NUMBER: 1:19-CR-036-1-MHC                                                     Judgment -- Page 6 of 6


Judgment in a Criminal Case
Sheet 5 -- Criminal Monetary Penalties

                                         CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties as stated below.

                   Special Assessment

TOTAL              $100.00

The special assessment of $100.00 must be paid immediately to the Clerk of Court, U.S. District Court, 75 Ted
Turner Drive SW, Atlanta, Georgia, 30303.
